]0'-

12

12-
13-
14

_]5

i9"
.2`0._

16 '
. W]ien and Whg to Fi]e

17
rs

'21

23 c

22

24

125

26

127

28

l (Emer rhe full name orplaimifl'in un's action ) C ) § §§qu £(§ 3 8 2
vs. ` c Ca:e No '
m m rid _M E,_S (To be provided by me clerk memo SWLA
en et §iii§e§%ieie

 

 

' enomo@eoeesaa-SBNA oe‘¢$i?+*rénso%iened'a)AT-oeo@o Eage)ee owens
OEoT\/L @Eooi\»i UJ€ vii viz

l l ?;:-`"-:"':)/0 ( "\ .¢4`-
E-F‘“ng /<;;;:¢§ 611 // i, 0
114/girlfde 4 `
SEE Etlu@\ jr s ut § jo oqe=_ 'che,\i-m\\ WEMDGJSM LE&§:»/§Lt€ 1-
PEiii.ioN non A WRiT oF HABE'AS 'Co`RPuS BY A PERsoN` iN STA'_I'E Cos'f'd$z. ,

Name 3“1 QMLE\L mem <'mr\o< MA, °*»»Z:"
(Last) (FIIBf) ain-dan ` 55 5

Prisoner N\imber C 8 0 Cl 0 0
lnstitutjonal Addiess QEG\'_d/\ mm &'C§M C§.ui\" Nd/\U CM- q"zqq"‘{

 

 

UN]TED STATES D]S'IRICT COURT
NORTHERN _DISTRICT OF CAL]FORN]A

'J'Em.\ F 8 L*PFMI_EL'{_

 

 

 

 

(I'FR)

L__{ O t CQWE YYtGW

 

‘-/ \'/W\_/\¢/\./\'/\_/W\./\_¢'W
,_-;.;-,», `

(]Entei the hill name ofrcspondent(s} orjai`los'in this action)

 

 

Read Cgmmis gaming gm Furwg in

Yon should §]e m the Noitliem Distiict i_fyou were convicted and sentenced m one of these
counties: Alam`eda, Contra Costa, Del Norte, Huinboldt, Lake, Man`n, Mmdocino, Moiiterey, Napa,
San Benito, Santa Claia, Sania sz, San PIancisco, San Mateo and Sonoma. Yoii should also tile in
this dism`ct ifyou am challenging the manner iii'which your_sentence is being executed, such as`}oss of
good time credits, and you ane confined in one of these counties Habeas L.R. 2254-3(3),

lf you are challenging your conviction or sentence and you were not convicted and sentenced in
one of the above~nanied fifteen counties,`your petition wil] likely be transferred to the Um`ted States
Disiii'ct Couit`i`or the district in wliichithe state court that convicted and sentenced you is located lf
you are challenging the execution of your sentence and you are not in pn'son in one of these counties,
your petition Wil] ]H<e_ly be iian.=;f"mied to the district conn for the district that includes the nistitutioii
where you are confined Habeas L.R_. 2254-3(b). -

 

PET- FOR WR]T OF HAB CORPUS - ] -

-.i_c;r\ on o co_*r~.)_

\DO¢

10
].I
12
']3

-` ]'4

_.15
36
_ iv

?] 8
`. 19‘?-
' izo_*j

2'1'

23 `
24 ,V
25

26

23`

 

 

Case 4:07-cv-03582-SBA Document 1 Filed 07/11/2007 _ Page 2 of 9

`, Who to Name as Resoondent
You mistnametlieperson inthse actual custody you ane. 'Ihisusual}yrneans theWarden or `

" jailor. Do not name the State of Califoinia, a city, a comity or the superior court of the county in which

you are imprisoned or by whom you were convicted and sentenced "Ihese are not proper

respondents
li you are not presently in custody pursuant to the state judgment against which you seek relief

t but may be subject 10 such custody in the future {eg,, dctainers), you must name the person in whose

- custody you are now and the Attomey General of the state in which the judgment you seek to attack

was entered
A. ]NFORMATION ABOUT YOURCONWCTTON AND SENTENCE
}. What sentence are you challenging in this petition?
(a) Naine and location of court that imposed sentence (for exainp]e; Alaineda

 

emory superior court oakrand);
@utloé encouk`{_ ccom-ua Cr’-tt.

Court l Locatiorn

(b) Case mimber, if known

 

(c) Date and terms of sentence F{;@» \ q &LQ
(d) Aieyounowincustodyservingthisterin? (Cuslodymeansbeinginjail,on

 

parole or probation, etc,) Yes J(_ No _
Where? d

- Naine ofhistitution: OEZ‘Q"T)G YK`>'LL)
Aadress: ' § oro m n ho `

 

2, 'Por what crime were you given this smitence?‘ (li_` your petition challenges a sentence for
more rim one crane nn each anne separately using reno can moves ifrmown. .rryou_ are _

challenging more than one sentence, you should tile a different petition i_`or each sentence.)
Wtuno s r

 

 

Pei. i=oR wier 01= HAB. CoRPUs - 2 -

 

\

t-hl .

\ooo-.ro`\m.:>.o)_r~.)

wN~c‘~o"`oo_~.J-o\'ui-.t>.ww._.¢

00 `-.l O'\ Ul"

l\.)
b

 

Case 4:07-cv-03582-SBA Document 1

3. Did you have any of the following?

Ariaigirrnerit:
Pre]iniinaiy Hearing:
Motion to Suppress:

4. How did you.p]ead? d

Gu“li"__
Any other plea (specify) _

 

Filed 07/11/2007 `

Yes

Not Gui]ty !/ ' Nolo Contendere_

Page 3 of 9

 

5. ]i` you went to tria], what kind of trial did you have?

july / lodge alone _ lodge alone on a transcript ___

 

 

 

 

 

 

 

 

 

 

6. Did you testify'at your trial? Yes _LL No ______
7. Did you have an attorney at the following proceedings:
{a) Ariaigriment Yes ___l{ No _____
(b) Pnlinmy lime Yes;/ No
.(c) Time of plea _ Yes _‘: No
(d) inn Yes _1{ No
(e) smng Yes ___Z No
(i) App€a¥ Yes._}/ No.__
(g) -Other post'-conviction.proceedhig` Yes l No -_,
8. Did you appeal your conviction? Yes _¢L No
' (a) uyeu' dial m what comr(s) did you appear
Court oprp'eal Yes *é No ____
Year`: ‘
Snpr"eme Court of California Yes ____f/___ No _____
vein .__lj@t_€> keene y .C)f=-M 1550
Any other court Yes No
Year.
(b) ];t`~you-appealed, were the grounds the same as those that you are.raisiog in this

PET_ FOR WR]']` OF HAB. CORPUS

 

bd

r~.>`c~.)‘r\)'r~.>l~.:imr\.)w»r\)»'».'.~».. ,‘ -'
00_-~3 Q\\,h-.§:.~...c._o w »_\ g\gg¢ :'3;; §§ § : E.

\Q¢>¢'--t¢\m.:;wm__

 

 

Case 4:07-cv-03582-SBA Document 1 Filed 07/11/2007 _ Page 4 of 9

need more Space, Answer the same questioris for'each elaim. 7
[Note: You must present ALL your claims in your lirst federal habeas petition Subsequ_ent

' petitions may be dismissed without review on the merits 28'U.S.C. §§ 2244(b); Mc_C_]eskey v. Zant,'

499 U.s. 461 111 s. Cr. 1454,113 L, Ed_ 2d 517(1991);} _

n mmone-C;i\l\t_ ftqu uho\©\\usto$ OE~`_‘:L!\£\L \\GHD'~ ELLU
ff’r ur \u~zors Q recourse z maggio
supponmgFaCrS-; hoo& vol B&Eo »£-\\Lacum \l,ero- Sou <Hs/ _
Li \\rior=>_ C\ womr\\; soo 1 worms L\ 0k Cotemon\lj
QLG@&LL 3eth I mut o@&'/L lamar UC€LM§ saul large/mg
\lerr© brokers I_ @muror§ 555 common Lo&¥)rmoh¢~» @ehemo
Craimrwo;<lf\w\mm morrow ¢S?>LL avenues r-\»qe:rg, cook
FOL1 L'C O\ C.:,\&':mr>m _
Supponingra¢rs; l_T askew/tour U@r E>t UELLSLLJQ mE ferequ
moLl-. U<-’\Lrtt-rr- room monies '1 @Ci/ widow QJ@'<:UL.OE
]:\ _C,s\<i~mom Lc>co§m>o 635 m\:;wq mellon m Tfilnemrl
woo\q` \”m§§il»@l £N‘)z draws
gmqhme; OEromL mechem Qorr=

 

swam_gFM-U froteme¢ met- Eot @r’¢/_smow ore ramey
me mecom terre memo ker/sw care orders "1"
(QrUJLn€-T». L'i Co:>\&m@€l> Qt&?><l)ci€1 Lomlao_»o ol_f_~` Q@_ou€
W\Lssu_eq \>\:;hm- 7

]f any of these grounds was not previously presented to any other_court, state briefly which

grounds were not prese¢rted and why:

rim cemeteries Lo women wires er roviaro QWMQ
®Etr©mmq os§rq»e£> 'ro LL rem/lee civ cole I:rr who
DG\LQ work coe werener omit LT_ d C.:,L.Errzoo

 

_' PBT. FoR wRJT oF HAB_ CORPUS - 6 -

county m~ut§

 

A\c) oo*_-.J_ c\ rod

10

ll-
]2'

13

34
is-

is
n

` 113
:]i9j

_' '2`0
' ,'21
22

23'

j 24

27

25
'_.2'6

 

Case 4:07-cv-03582-SBA Document 1 Filed 07/11/2007 7 Page 5 of 9

List, by name and citation only, any cases that you think are close factually to yours so that they
are an example of the error you believe occurred in your case. Do not discuss the holding or reasoning

of these cases:

QQP)¢ §I@t` L*L §3. C._Q\Yém@o QDU;EMLIQ kf@t Q°‘%\’ECHL.CJ

' m&ttcou \tsmo\re' waco meritless wm §§qu ot tier
`®<ooqt\i/ \U ’D<o€t; wis ®K~T:©&\m tom _
- Doyor)havearrattoiney forthispet:ition? _ ch .>S No _

 

lt` you do, give the name and addressof your attorney:
Qr`trorofiq iowa t_r-:»aot\~& 510'524"5963

WHEREFORE,V petitioner prays that the Co`urt grant petitioner reIief to which sfhe may be entitled in
this proceeding l verity under peim}ty of perjury that the foregoing is true and correct

Executed on ri P 5 § @_I _ @/LA/LL,{ P 501 G-/YL@/(/

Date . Si_gnature of Petitioner /

[R'c\r. ISJ'UZ}

1 PET. FOR WR]T OF HAB. CORPUS _ - 7 ~

 

 

 

Case 4:07-cv-03582-SBA Document 1 Filed 07/11/20077 P_age 6 of 9

OFFICE OF THE FEDERAL DEFENDER
EASTERN DISTRICT OF CALIFORNIA

801 1 STREET, 3rd FLOOR
SACRAh/IENTO, CALIFORNIA 95814
camera credence (916) 498-6666 Fax: (916) 495-6656 . Linda c. Harrer
Federat Deferrder ` CtriefAssfstant Defender
l unc 6, 2007 '

l ames E. Tilton, Secretary

California Department of Corrections
and Rehabilitation

1515 S Street, South Buildr`ng

Sacra.rnento, Califoroia 95814

RE.- Jer,»y grantor CDCR # armco

De_ar Secretary Tiltpn:

 

~_l am Writing regarding some recurrent problems with the manner in which officials at San n
Quentin have responded the health mail and welfare of my client lorry Stanley

Fi.rst, regarding Mr. Stanley’s health, it appears that non-medical personnel at San
Quentin arc interfering with his access to medical diagnoses and treatment Mr. Stanley is in his 60'5
and has several serious medical conditions including a heart condition and a pulmonary condition'. On
April 2, 2007, Mr. Stanley was seen by a Dr. Lee at Sarr Pablo Medical Center for his breathing
problems Dr. Lee prescribed the steroid Predm`sone, and requested that M_r. Stanley be returned within
four weeks for a follow»up examination Mr. Stanley inforan me that he has not received any follow-up
medical visit,that his prescription has run out, and his breathing problems have worsened.

Second, as l am Sure you are aware, security personnel at Sarr Quentin, acting under the
direction of Warden A`yres and Captairr Fox, have rccently, and unlawrirlly, contiscated large quantities
of attorney mail from merritt the condemned housing unit. While l understand that much of the illegally
seized mail has been returned, problems 'with mail delivery continue 'ln particular,' Mr. Stanley’s legal
mail has been delivered to another inmate in vW rules. Staff at San Quentin
have almost routinely deele deliverLof legal mail to lvlr. Stanley. Some of his legal mail has been

lost.
--_r

 

Third, Mr. Stanley previously was given yard time that included exposure to the sun.
More recently, and for no identified reason, Mr Stanlcy has only been permitted to Wa`ll< m an area that

receives no sun light

Each of the circumstances l have described adversely affects Mr. Stanley’s health,
welfare, and ability to assist his appointed counsel. Each of these circumstances is being permitted to
continue for no legitimate reason. l ask that you take appropriate action to correct these violations of

 

Case 4:07-ov-03582-SBA Dooument l Filed 07/11/2007_

Jun'e 6, 2007
Page 2

Mr. Stanley’s rights and CDCR re`.<`-gulatior:lsl
Sincerely,

Tivon chardl
Assistant Federal Defender

 

cc: Robert Sillen, Receiver

Page 7 of 9

 

Case 4:07-ov-03582-SBA "'Dodlirh`érit` t ' Filed 07/11/2007_ P_age 8 of 9

UNITED STATES .Di§s"rRic'r COLJRT

NORTHERN D!STR|CT C|F CAL.|FOHNIA
SAN FRANCISCO, CAL.[FOF!N|A 94 lOZ

THEL.TON E- HENDERSON
semon umwa srA'res ms'rmc:r mesa

March 30, 2005

Mr. Gregg Cohen, District Attorney
County of Tehania

P.O. Box 8400

Red Bluff, CA 96080

Re: Death Row Inrnate Jetry F. Stanley
Dear Mr. Cohen:

Tliis will acknowledge receipt of your letter dated February 25, 2005 asking for any
assistance l may be able to give with respect to Jerry Stanley’s_desire to divulge the grave
site location of his former wife, Diana Lynn~Stanley.

l have had my law clerks do extensive research on this matter and have, as well, conferred

with several of my colleggues. As much as l would like to be able to help you and Mr.
Stanley, it appears that there is no way I can get involved without seriously violating my

judicial ethical obligations

 

l’m writing this letter in the hope that you can show it to Mr. Stanley as proof that you did
write to me as he requestedl l wish you and everyone involved every success in resolving

this heart-wrenching dilenirna'.'F

Sincerely yo r _

  
 
 

Tlrelton E.
United States District`.ludge

 

Case 4:07-ov-03582-SBA Dooument 1' Filed 0_7/11/2_007 _ Page 9 of 9

.§aek Leavitt _ __
Attorney at Law` lQ \Ol …E{CF-@ 5 l-
1065 A St., Sllitle 203 ©E m§;`,: LE_\l\ C.Ql_
Hayward, CA 94541 L_`
Ter.= 510-531-9127 C\ pl O'l
FAX: 510-531-9127 _,_ _._.._ _-- --

Se temper13,2004 7 r- _ _-
p . _13\[)A §Q,Ll 5 Cil(¢j

Jeanne S. Woodford
Director
Calitornia Department of Corrections
P.O. Bo;< 942883

_ Sacramento, CA 94283 - 0001

R_e: Gerald F. Stanley, C80900 -d~rET-lfli’ 3‘ 5'7'-'
Dear Director Woodford:

As the retained attorney for Gerald Staniey. l would appreciate it if you Would
` investigate the present conditions under Which he is confined on San Quentin’s Death
Rcvv. You might be aware ot i\flr. Sten!ey's condition based on your previous vvori< as
the prison's Warden, but the pressures on him apparentlyhave increas dramatically
in recent months The difhculties he is _fan- are based on his,f:perate

With lehama County authorities n__rscin othia s in-discussing the location et a
§ is ' _ v`ctim's bod .. On advice o counsell he rs ryrng his best to cooperate while at
t`he same time protecting himselfl fror@nwarrantedditfrcu|t@ Whatever help you can

provide vvouid be appreciated

 
   

 

 

Man_y_ thanks for your cooperation

\‘E»incere|yl

deck Leavitt
_CSB 31960

